        Case 1:24-cv-01139-MN               Document 1-11           Filed 10/13/24     Page 1 of 1 PageID #: 370
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                  District of Delaware
                                                  ____________________


                      Patent Armory Inc.                        )
                             Plaintiff                          )
                                v.                              )      Case No.
                 WESCO International, Inc.                      )
                            Defendant                           )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

                                                         Patent Armory Inc.                                             .


Date:          10/13/2024                                                     /s/ Antranig Garibian (DE Bar No. 4962)
                                                                                         Attorney’s signature


                                                                               Antranig Garibian (DE Bar No. 4962)
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